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William P. Deni, Jr.
Charles H. Chevalier
J. Brugh Lower
GIBBONS P.C.
One Gateway Center
Newark, New Jersey 07102
Tel: (973) 596-4500
Fax: (973) 596-0545

Attorneys for Plaintiffs
Senju Pharmaceutical Co., Ltd.,
Bausch & Lomb Incorporated, and
Bausch & Lomb Pharma Holdings Corp.

                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


 SENJU PHARMACEUTICAL CO., LTD.;
                                                      Civil Action No. _19-13348_____
 BAUSCH & LOMB INCORPORATED; and
 BAUSCH & LOMB PHARMA HOLDINGS                          Document Electronically Filed
 CORP.,

                       Plaintiffs,

 AUROBINDO PHARMA USA INC. and
 AUROBINDO PHARMA LIMITED,

                       Defendants.



                      COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiffs Senju Pharmaceutical Co., Ltd. (“Senju”), Bausch & Lomb Incorporated

(“B+L”) and Bausch & Lomb Pharma Holdings Corp. (“B+L Pharma Holdings”) (collectively,

“Plaintiffs”), by way of Complaint against Defendants Aurobindo Pharma USA Inc. (“Aurobindo

USA”) and Aurobindo Pharma Limited (“Aurobindo India”) (collectively, “Aurobindo” or

“Defendants”), allege as follows:




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                                        THE PARTIES

       1.      Plaintiff Senju is a corporation organized and existing under the laws of Japan, with

a principal place of business at 3-1-9, Kawaramachi, Chuo-ku, Osaka 541-0048, Japan.

       2.      Plaintiff B+L is a corporation organized and existing under the laws of New York,

with a place of business at 1400 North Goodman St., Rochester, New York 14609. B+L is the

registered holder of approved New Drug Application (“NDA”) No. 203168, which covers

Prolensa®.

       3.      Plaintiff B+L Pharma Holdings is a corporation organized and existing under the

laws of Delaware, with a place of business at 700 Route 202/206, Bridgewater, New Jersey 08807.

B+L Pharma Holdings is a wholly-owned subsidiary of B+L.

       4.      Upon information and belief, Defendant Aurobindo USA is a corporation organized

and existing under the laws of Delaware, having its principal place of business at 279 Princeton-

Hightstown Road, East Windsor, New Jersey 08520. Upon information and belief, Aurobindo

USA is a wholly-owned subsidiary of Aurobindo India.

       5.      Upon information and belief, Defendant Aurobindo India is a corporation

organized and existing under the laws of India, having its principal place of business at Plot #2,

Maitrivihar, Ameerpat, Hyderabad - 5000038, Telangana, India.

                                 NATURE OF THE ACTION

       6.      This is an action for infringement of United States Patent Nos. 8,129,431 (“the ’431

patent”), 8,669,290 (“the ’290 patent”), 8,754,131 (“the ’131 patent”), 8,871,813 (“the ’813

patent”), 8,927,606 (“the ’606 patent”), 9,144,609 (“the ’609 patent”), 9,517,220 (“the ’220

patent”), 9,561,277 (“the ’277 patent”), and 10,085,958 (“the ’958 patent”), arising under the

United States patent laws, Title 35, United States Code, § 100 et seq., including 35 U.S.C. §§ 271




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and 281. This action relates to Aurobindo’s filing of an Abbreviated New Drug Application

(“ANDA”) under Section 505(j) of the Federal Food, Drug, and Cosmetic Act (“the Act”), 21

U.S.C. § 355(j), seeking U.S. Food and Drug Administration (“FDA”) approval to market its

generic bromfenac ophthalmic solution (0.07%) (“Aurobindo’s generic bromfenac ophthalmic

solution”) before the expiration of the asserted patents.

                                 JURISDICTION AND VENUE

        7.       This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331, 1338(a), and

2201-02.

        8.       Upon information and belief, this Court has jurisdiction over Aurobindo USA.

Upon information and belief, Aurobindo USA is in the business of, inter alia, developing,

manufacturing, marketing, importing, distributing, and selling pharmaceutical drug products,

including generic drug products. Upon information and belief, Aurobindo USA directly, or

indirectly, develops, manufactures, markets, imports, distributes, and sells generic drug products

throughout the United States and in this judicial district, and this judicial district is a likely

destination for Aurobindo’s generic bromfenac ophthalmic solution. Upon information and belief,

Aurobindo USA purposefully has conducted and continues to conduct business in this judicial

district.

        9.       Upon information and belief, Aurobindo USA has its principal place of business at

279 Princeton-Hightstown Road, East Windsor, New Jersey 08520. Upon information and belief,

Aurobindo USA also operates a “Distribution Center” located at 6 Wheeling Road, Dayton, New

Jersey, 08810.

        10.      Upon information and belief, Aurobindo USA has previously admitted to,

consented to, or has not contested the jurisdiction of this Court in prior District of New Jersey




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actions, including, for example: Valeant Pharms. North America LLC et al. v. Aurobindo Pharma

USA, Inc. et al., Civil Action No. 3:18-13693; Celgene Corp. v. Aurobindo Pharma Ltd. et al.,

Civil Action No. 2:19-00143; Forest Labs, LLC et al. v. Aurobindo Pharma USA, Inc. et al., Civil

Action No. 2:17-11679; and Otsuka Pharma Co. Ltd. v. Aurobindo Pharma Ltd. et al., Civil Action

No. 1:14-03306.

       11.     Aurobindo USA has previously availed itself of the rights, benefits, and privileges

of this Court by asserting counterclaims in prior District of New Jersey actions, including, for

example: Valeant Pharms. North America LLC et al. v. Aurobindo Pharma USA, Inc. et al., Civil

Action No. 3:18-13693; Celgene Corp. v. Aurobindo Pharma Ltd. et al., Civil Action No. 2:19-

00143; Forest Labs, LLC et al. v. Aurobindo Pharma USA, Inc. et al., Civil Action No. 2:17-

11679; and Otsuka Pharma Co. Ltd. v. Aurobindo Pharma Ltd. et al., Civil Action No. 1:14-03306.

       12.     Upon information and belief, this Court has jurisdiction over Aurobindo India.

Upon information and belief, Aurobindo India is in the business of, inter alia, developing,

manufacturing, marketing, importing, distributing, and selling pharmaceutical drug products,

including generic drug products. Upon information and belief, Aurobindo India directly, or

indirectly, manufactures, markets, distributes, and sells generic drug products throughout the

United States and in this judicial district, and this judicial district is a likely destination for

Aurobindo’s generic bromfenac ophthalmic solution. Upon information and belief, Aurobindo

India purposefully has conducted and continues to conduct business in this judicial district.

       13.     Upon information and belief, Aurobindo India has previously admitted to,

consented to, or has not contested the jurisdiction of this Court in prior District of New Jersey

actions, including, for example: Valeant Pharms. North America LLC et al. v. Aurobindo Pharma

USA, Inc. et al., Civil Action No. 3:18-13693; Celgene Corp. v. Aurobindo Pharma Ltd. et al.,




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Civil Action No. 2:19-00143; Forest Labs, LLC et al. v. Aurobindo Pharma USA, Inc. et al., Civil

Action No. 2:17-11679; and Otsuka Pharma Co. Ltd. v. Aurobindo Pharma Ltd. et al., Civil Action

No. 1:14-03306.

        14.    Aurobindo India has previously availed itself of the rights, benefits, and privileges

of this Court by asserting counterclaims in prior District of New Jersey actions, including, for

example: Valeant Pharms. North America LLC et al. v. Aurobindo Pharma USA, Inc. et al., Civil

Action No. 3:18-13693; Celgene Corp. v. Aurobindo Pharma Ltd. et al., Civil Action No. 2:19-

00143; Forest Labs, LLC et al. v. Aurobindo Pharma USA, Inc. et al., Civil Action No. 2:17-

11679; and Otsuka Pharma Co. Ltd. v. Aurobindo Pharma Ltd. et al., Civil Action No. 1:14-03306.

        15.    Aurobindo India has taken the costly, significant step of applying to the FDA for

approval to engage in future activities—including the marketing of Aurobindo’s generic

bromfenac ophthalmic solution—that will be purposefully directed at, upon information and

belief, the State of New Jersey and elsewhere. Aurobindo India’s ANDA filing constitutes a

formal act that reliably indicates plans to engage in the marketing of Aurobindo’s generic

bromfenac ophthalmic solution. Upon information and belief, Aurobindo India intends to direct

sales of Aurobindo’s generic bromfenac ophthalmic solution into New Jersey, among other places,

once it has the requested FDA approval to market it. Upon information and belief, Aurobindo

India will engage in the marketing of Aurobindo’s generic bromfenac ophthalmic solution in New

Jersey upon approval of its ANDA.

        16.    Upon information and belief, Aurobindo USA and Aurobindo India work in concert

with each other with respect to the regulatory approval, manufacturing, marketing, distribution,

and sale of generic pharmaceutical products throughout the United States, including in this judicial

district.




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        17.     Upon information and belief, venue is proper in this judicial district under 28 U.S.C.

§§ 1391(b), 1391(c), and 1400(b).

        18.     Venue is proper against Aurobindo USA because it operates a principal place of

business in this judicial district.

        19.     Venue is proper against Aurobindo India, a foreign corporation, in any judicial

district that has personal jurisdiction, including this judicial district.

                                      THE PATENTS IN SUIT

        20.     The U.S. Patent and Trademark Office (“PTO”) issued the ’431 patent on March 6,

2012. The ’431 patent claims, inter alia, formulations of bromfenac for ophthalmic administration.

Plaintiffs hold all substantial rights in the ’431 patent and have the right to sue for infringement

thereof. Senju is the assignee of the ’431 patent. A copy of the ’431 patent is attached hereto as

Exhibit A.

        21.     The PTO issued the ’290 patent on March 11, 2014. The ’290 patent claims, inter

alia, formulations of bromfenac for ophthalmic administration. Plaintiffs hold all substantial rights

in the ’290 patent and have the right to sue for infringement thereof. Senju is the assignee of the

’290 patent. A copy of the ’290 patent is attached hereto as Exhibit B.

        22.     The PTO issued the ’131 patent on June 17, 2014. The ’131 patent claims, inter

alia, formulations of bromfenac for ophthalmic administration. Plaintiffs hold all substantial rights

in the ’131 patent and have the right to sue for infringement thereof. Senju is the assignee of the

’131 patent. A copy of the ’131 patent is attached hereto as Exhibit C.

        23.     The PTO issued the ’813 patent on October 28, 2014. The ’813 patent claims, inter

alia, formulations of bromfenac for ophthalmic administration. Plaintiffs hold all substantial rights

in the ’813 patent and have the right to sue for infringement thereof. Senju is the assignee of the




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’813 patent. A copy of the ’813 patent is attached hereto as Exhibit D.

       24.     The PTO issued the ’606 patent on January 6, 2015. The ’606 patent claims, inter

alia, formulations of bromfenac for ophthalmic administration. Plaintiffs hold all substantial rights

in the ’606 patent and have the right to sue for infringement thereof. Senju is the assignee of the

’606 patent. A copy of the ’606 patent is attached hereto as Exhibit E.

       25.     The PTO issued the ’609 patent on September 29, 2015. The ’609 patent claims,

inter alia, formulations of bromfenac for ophthalmic administration. Plaintiffs hold all substantial

rights in the ’609 patent and have the right to sue for infringement thereof. Senju is the assignee

of the ’609 patent. A copy of the ’609 patent is attached hereto as Exhibit F.

       26.     The PTO issued the ’220 patent on December 13, 2016. The ’220 patent claims,

inter alia, formulations of bromfenac for ophthalmic administration. Plaintiffs hold all substantial

rights in the ’220 patent and have the right to sue for infringement thereof. B+L Pharma Holdings

is the assignee of the ’220 patent. A copy of the ’220 patent is attached hereto as Exhibit G.

       27.     The PTO issued the ’277 patent on February 7, 2017. The ’277 patent claims, inter

alia, formulations of bromfenac for ophthalmic administration. Plaintiffs hold all substantial rights

in the ’277 patent and have the right to sue for infringement thereof. Senju is the assignee of the

’277 patent. A copy of the ’277 patent is attached hereto as Exhibit H.

       28.     The PTO issued the ’958 patent on October 2, 2018. The ’958 patent claims, inter

alia, formulations of bromfenac for ophthalmic administration. Plaintiffs hold all substantial rights

in the ’958 patent and have the right to sue for infringement thereof. B+L Pharma Holdings is the

assignee of the ’958 patent. A copy of the ’958 patent is attached hereto as Exhibit I.

       29.     B+L is the holder of NDA No. 203168 for Prolensa®, which the FDA approved on

April 5, 2013. In conjunction with NDA No. 203168, the ’431 patent, the ’290 patent, the ’131




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patent, the ’813 patent, the ’606 patent, the ’609 patent, the ’220 patent, the ’277 patent, and the

’958 patent are listed in the FDA’s Approved Drug Products with Therapeutic Equivalence

Evaluations (“the Orange Book”).

        30.     Bromfenac ophthalmic solution 0.07% is sold in the United States under the

trademark Prolensa®.

                    AUROBINDO’S INFRINGING ANDA SUBMISSION

        31.     Upon information and belief, Aurobindo filed with the FDA ANDA No. 212964

under Section 505(j) of the Act and 21 U.S.C. § 355(j).

        32.     Upon information and belief, Aurobindo’s ANDA No. 212964 seeks FDA approval

to sell in the United States Aurobindo’s generic bromfenac ophthalmic solution, intended to be a

generic version of Prolensa®.

        33.     Plaintiffs received a letter from Aurobindo dated April 19, 2019, purporting to be a

Notice of Certification for ANDA No. 212964 (“Aurobindo’s Notice Letter”) under Section

505(j)(2)(B)(ii) of the Act, 21 U.S.C. § 355(j)(2)(B)(ii), and 21 § C.F.R. 314.95.

        34.     Aurobindo’s notice letter alleges that Aurobindo has submitted to the FDA ANDA

212964 seeking FDA approval to sell in the United States Aurobindo’s generic bromfenac

ophthalmic solution, intended to be a generic version of Prolensa®.

        35.     Aurobindo’s notice letter, which is required by statute and regulation to provide a

full and detailed explanation regarding any non-infringement defenses, does not allege meritorious

non-infringement defenses for any of the claims of the ’431 patent, the ’290 patent, the ’131 patent,

the ’813 patent, the ’606 patent, the ’609 patent, the ’220 patent, the ’277 patent, or the ’958 patent.

        36.     Upon information and belief, ANDA No. 212964 seeks approval of Aurobindo’s

generic bromfenac ophthalmic solution, that is the same, or substantially the same, as Prolensa®.




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                                 COUNT I AGAINST AUROBINDO

                       Infringement of the ’431 Patent under § 271(e)(2)

        37.    Paragraphs 1-36 are incorporated herein as set forth above.

        38.    Under 35 U.S.C. § 271(e)(2), Aurobindo has infringed at least one claim of the ’431

patent by submitting, or causing to be submitted, to the FDA ANDA No. 212964 seeking approval

for the commercial marketing of Aurobindo’s generic bromfenac ophthalmic solution before the

expiration of the ’431 patent.

        39.    Upon information and belief, Aurobindo’s generic bromfenac ophthalmic solution

will, if approved and marketed, infringe at least one claim of the ’431 patent.

        40.    Upon information and belief, Aurobindo will, through the manufacture, use,

import, offer for sale, and/or sale of Aurobindo’s generic bromfenac ophthalmic solution, directly

infringe, contributorily infringe, and/or induce infringement of at least one claim of the ’431 patent.

        41.    If Aurobindo’s marketing and sale of its generic bromfenac ophthalmic solution

prior to the expiration of the ’431 patent is not enjoined, Plaintiffs will suffer substantial and

irreparable harm for which there is no adequate remedy at law.

                              COUNT II AGAINST AUROBINDO

                   Declaratory Judgment of Infringement of the ’431 Patent

        42.    Paragraphs 1-41 are incorporated herein as set forth above.

        43.    These claims arise under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and

2202.

        44.    There is an actual case or controversy such that the Court may entertain Plaintiffs’

request for declaratory relief consistent with Article III of the United States Constitution, and this

actual case or controversy requires a declaration of rights by this Court.




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       45.     Aurobindo has made, and will continue to make, substantial preparations in the

United States to manufacture, use, offer to sell, sell, and/or import Aurobindo’s generic bromfenac

ophthalmic solution before the expiration of the ’431 patent, including Aurobindo’s filing of

ANDA No. 212964.

       46.     Upon information and belief, any commercial manufacture, use, offer for sale, sale,

and/or importation of Aurobindo’s generic bromfenac ophthalmic solution will directly infringe,

contributorily infringe, and/or induce infringement of at least one claim of the ’431 patent.

       47.     Plaintiffs are entitled to a declaratory judgment that future commercial

manufacture, use, offer for sale, sale, and/or importation of Aurobindo’s generic bromfenac

ophthalmic solution will constitute infringement of at least one claim of the ’431 patent.

                             COUNT III AGAINST AUROBINDO

                       Infringement of the ’290 Patent under § 271(e)(2)

       48.     Paragraphs 1-47 are incorporated herein as set forth above.

       49.     Under 35 U.S.C. § 271(e)(2), Aurobindo has infringed at least one claim of the ’290

patent by submitting, or causing to be submitted, to the FDA ANDA No. 212964 seeking approval

for the commercial marketing of Aurobindo’s generic bromfenac ophthalmic solution before the

expiration of the ’290 patent.

       50.     Upon information and belief, Aurobindo’s generic bromfenac ophthalmic solution

will, if approved and marketed, infringe at least one claim of the ’290 patent.

       51.     Upon information and belief, Aurobindo will, through the manufacture, use,

import, offer for sale, and/or sale of Aurobindo’s generic bromfenac ophthalmic solution, directly

infringe, contributorily infringe, and/or induce infringement of at least one claim of the ’290 patent.

       52.     If Aurobindo’s marketing and sale of its generic bromfenac ophthalmic solution




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prior to the expiration of the ’290 patent is not enjoined, Plaintiffs will suffer substantial and

irreparable harm for which there is no adequate remedy at law.

                             COUNT IV AGAINST AUROBINDO

                   Declaratory Judgment of Infringement of the ’290 Patent

        53.    Paragraphs 1-52 are incorporated herein as set forth above.

        54.    These claims arise under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and

2202.

        55.    There is an actual case or controversy such that the Court may entertain Plaintiffs’

request for declaratory relief consistent with Article III of the United States Constitution, and this

actual case or controversy requires a declaration of rights by this Court.

        56.    Aurobindo has made, and will continue to make, substantial preparations in the

United States to manufacture, use, offer to sell, sell, and/or import Aurobindo’s generic bromfenac

ophthalmic solution before the expiration of the ’290 patent, including Aurobindo’s filing of

ANDA No. 212964.

        57.    Upon information and belief, any commercial manufacture, use, offer for sale, sale,

and/or importation of Aurobindo’s generic bromfenac ophthalmic solution will directly infringe,

contributorily infringe, and/or induce infringement of at least one claim of the ’290 patent.

        58.    Plaintiffs are entitled to a declaratory judgment that future commercial

manufacture, use, offer for sale, sale, and/or importation of Aurobindo’s generic bromfenac

ophthalmic solution will constitute infringement of at least one claim of the ’290 patent.

                              COUNT V AGAINST AUROBINDO

                       Infringement of the ’131 Patent under § 271(e)(2)

        59.    Paragraphs 1-58 are incorporated herein as set forth above.




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        60.    Under 35 U.S.C. § 271(e)(2), Aurobindo has infringed at least one claim of the ’131

patent by submitting, or causing to be submitted, to the FDA ANDA No. 212964 seeking approval

for the commercial marketing of Aurobindo’s generic bromfenac ophthalmic solution before the

expiration of the ’131 patent.

        61.    Upon information and belief, Aurobindo’s generic bromfenac ophthalmic solution

will, if approved and marketed, infringe at least one claim of the ’131 patent.

        62.    Upon information and belief, Aurobindo will, through the manufacture, use,

import, offer for sale, and/or sale of Aurobindo’s generic bromfenac ophthalmic solution, directly

infringe, contributorily infringe, and/or induce infringement of at least one claim of the ’131 patent.

        63.    If Aurobindo’s marketing and sale of its generic bromfenac ophthalmic solution

prior to the expiration of the ’131 patent is not enjoined, Plaintiffs will suffer substantial and

irreparable harm for which there is no adequate remedy at law.

                              COUNT VI AGAINST AUROBINDO

                   Declaratory Judgment of Infringement of the ’131 Patent

        64.    Paragraphs 1-63 are incorporated herein as set forth above.

        65.    These claims arise under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and

2202.

        66.    There is an actual case or controversy such that the Court may entertain Plaintiffs’

request for declaratory relief consistent with Article III of the United States Constitution, and this

actual case or controversy requires a declaration of rights by this Court.

        67.    Aurobindo has made, and will continue to make, substantial preparations in the

United States to manufacture, use, offer to sell, sell, and/or import Aurobindo’s generic bromfenac

ophthalmic solution before the expiration of the ’131 patent, including Aurobindo’s filing of




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ANDA No. 212964.

       68.     Upon information and belief, any commercial manufacture, use, offer for sale, sale,

and/or importation of Aurobindo’s generic bromfenac ophthalmic solution will directly infringe,

contributorily infringe, and/or induce infringement of at least one claim of the ’131 patent.

       69.     Plaintiffs are entitled to a declaratory judgment that future commercial

manufacture, use, offer for sale, sale, and/or importation of Aurobindo’s generic bromfenac

ophthalmic solution will constitute infringement of at least one claim of the ’131 patent.

                             COUNT VII AGAINST AUROBINDO

                       Infringement of the ’813 Patent under § 271(e)(2)

       70.     Paragraphs 1-69 are incorporated herein as set forth above.

       71.     Under 35 U.S.C. § 271(e)(2), Aurobindo has infringed at least one claim of the ’813

patent by submitting, or causing to be submitted, to the FDA ANDA No. 212964 seeking approval

for the commercial marketing of Aurobindo’s generic bromfenac ophthalmic solution before the

expiration of the ’813 patent.

       72.     Upon information and belief, Aurobindo’s generic bromfenac ophthalmic solution

will, if approved and marketed, infringe at least one claim of the ’813 patent.

       73.     Upon information and belief, Aurobindo will, through the manufacture, use,

import, offer for sale, and/or sale of Aurobindo’s generic bromfenac ophthalmic solution, directly

infringe, contributorily infringe, and/or induce infringement of at least one claim of the ’813 patent.

       74.     If Aurobindo’s marketing and sale of its generic bromfenac ophthalmic solution

prior to the expiration of the ’813 patent is not enjoined, Plaintiffs will suffer substantial and

irreparable harm for which there is no adequate remedy at law.




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                            COUNT VIII AGAINST AUROBINDO

                   Declaratory Judgment of Infringement of the ’813 Patent

        75.    Paragraphs 1-74 are incorporated herein as set forth above.

        76.    These claims arise under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and

2202.

        77.    There is an actual case or controversy such that the Court may entertain Plaintiffs’

request for declaratory relief consistent with Article III of the United States Constitution, and this

actual case or controversy requires a declaration of rights by this Court.

        78.    Aurobindo has made, and will continue to make, substantial preparations in the

United States to manufacture, use, offer to sell, sell, and/or import Aurobindo’s generic bromfenac

ophthalmic solution before the expiration of the ’813 patent, including Aurobindo’s filing of

ANDA No. 212964.

        79.    Upon information and belief, any commercial manufacture, use, offer for sale, sale,

and/or importation of Aurobindo’s generic bromfenac ophthalmic solution will directly infringe,

contributorily infringe, and/or induce infringement of at least one claim of the ’813 patent.

        80.    Plaintiffs are entitled to a declaratory judgment that future commercial

manufacture, use, offer for sale, sale, and/or importation of Aurobindo’s generic bromfenac

ophthalmic solution will constitute infringement of at least one claim of the ’813 patent.

                             COUNT IX AGAINST AUROBINDO

                       Infringement of the ’606 Patent under § 271(e)(2)

        81.    Paragraphs 1-80 are incorporated herein as set forth above.

        82.    Under 35 U.S.C. § 271(e)(2), Aurobindo has infringed at least one claim of the ’606

patent by submitting, or causing to be submitted, to the FDA ANDA No. 212964 seeking approval




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for the commercial marketing of Aurobindo’s generic bromfenac ophthalmic solution before the

expiration of the ’606 patent.

        83.    Upon information and belief, Aurobindo’s generic bromfenac ophthalmic solution

will, if approved and marketed, infringe at least one claim of the ’606 patent.

        84.    Upon information and belief, Aurobindo will, through the manufacture, use,

import, offer for sale, and/or sale of Aurobindo’s generic bromfenac ophthalmic solution, directly

infringe, contributorily infringe, and/or induce infringement of at least one claim of the ’606 patent.

        85.    If Aurobindo’s marketing and sale of its generic bromfenac ophthalmic solution

prior to the expiration of the ’606 patent is not enjoined, Plaintiffs will suffer substantial and

irreparable harm for which there is no adequate remedy at law.

                              COUNT X AGAINST AUROBINDO

                   Declaratory Judgment of Infringement of the ’606 Patent

        86.    Paragraphs 1-85 are incorporated herein as set forth above.

        87.    These claims arise under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and

2202.

        88.    There is an actual case or controversy such that the Court may entertain Plaintiffs’

request for declaratory relief consistent with Article III of the United States Constitution, and this

actual case or controversy requires a declaration of rights by this Court.

        89.    Aurobindo has made, and will continue to make, substantial preparations in the

United States to manufacture, use, offer to sell, sell, and/or import Aurobindo’s generic bromfenac

ophthalmic solution before the expiration of the ’606 patent, including Aurobindo’s filing of

ANDA No. 212964.

        90.    Upon information and belief, any commercial manufacture, use, offer for sale, sale,




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and/or importation of Aurobindo’s generic bromfenac ophthalmic solution will directly infringe,

contributorily infringe, and/or induce infringement of at least one claim of the ’606 patent.

       91.     Plaintiffs are entitled to a declaratory judgment that future commercial

manufacture, use, offer for sale, sale, and/or importation of Aurobindo’s generic bromfenac

ophthalmic solution will constitute infringement of at least one claim of the ’606 patent.

                              COUNT XI AGAINST AUROBINDO

                       Infringement of the ’609 Patent under § 271(e)(2)

       92.     Paragraphs 1-91 are incorporated herein as set forth above.

       93.     Under 35 U.S.C. § 271(e)(2), Aurobindo has infringed at least one claim of the ’609

patent by submitting, or causing to be submitted, to the FDA ANDA No. 212964 seeking approval

for the commercial marketing of Aurobindo’s generic bromfenac ophthalmic solution before the

expiration of the ’609 patent.

       94.     Upon information and belief, Aurobindo’s generic bromfenac ophthalmic solution

will, if approved and marketed, infringe at least one claim of the ’609 patent.

       95.     Upon information and belief, Aurobindo will, through the manufacture, use,

import, offer for sale, and/or sale of Aurobindo’s generic bromfenac ophthalmic solution, directly

infringe, contributorily infringe, and/or induce infringement of at least one claim of the ’609 patent.

       96.     If Aurobindo’s marketing and sale of its generic bromfenac ophthalmic solution

prior to the expiration of the ’609 patent is not enjoined, Plaintiffs will suffer substantial and

irreparable harm for which there is no adequate remedy at law.

                             COUNT XII AGAINST AUROBINDO

                   Declaratory Judgment of Infringement of the ’609 Patent

       97.     Paragraphs 1-96 are incorporated herein as set forth above.




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        98.    These claims arise under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and

2202.

        99.    There is an actual case or controversy such that the Court may entertain Plaintiffs’

request for declaratory relief consistent with Article III of the United States Constitution, and this

actual case or controversy requires a declaration of rights by this Court.

        100.   Aurobindo has made, and will continue to make, substantial preparations in the

United States to manufacture, use, offer to sell, sell, and/or import Aurobindo’s generic bromfenac

ophthalmic solution before the expiration of the ’609 patent, including Aurobindo’s filing of

ANDA No. 212964.

        101.   Upon information and belief, any commercial manufacture, use, offer for sale, sale,

and/or importation of Aurobindo’s generic bromfenac ophthalmic solution will directly infringe,

contributorily infringe, and/or induce infringement of at least one claim of the ’609 patent.

        102.   Plaintiffs are entitled to a declaratory judgment that future commercial

manufacture, use, offer for sale, sale, and/or importation of Aurobindo’s generic bromfenac

ophthalmic solution will constitute infringement of at least one claim of the ’609 patent.

                            COUNT XIII AGAINST AUROBINDO

                       Infringement of the ’220 Patent under § 271(e)(2)

        103.   Paragraphs 1-102 are incorporated herein as set forth above.

        104.   Under 35 U.S.C. § 271(e)(2), Aurobindo has infringed at least one claim of the ’220

patent by submitting, or causing to be submitted, to the FDA ANDA No. 212964 seeking approval

for the commercial marketing of Aurobindo’s generic bromfenac ophthalmic solution before the

expiration of the ’220 patent.

        105.   Upon information and belief, Aurobindo’s generic bromfenac ophthalmic solution




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will, if approved and marketed, infringe at least one claim of the ’220 patent.

        106.   Upon information and belief, Aurobindo will, through the manufacture, use,

import, offer for sale, and/or sale of Aurobindo’s generic bromfenac ophthalmic solution, directly

infringe, contributorily infringe, and/or induce infringement of at least one claim of the ’220 patent.

        107.   If Aurobindo’s marketing and sale of its generic bromfenac ophthalmic solution

prior to the expiration of the ’220 patent is not enjoined, Plaintiffs will suffer substantial and

irreparable harm for which there is no adequate remedy at law.

                             COUNT XIV AGAINST AUROBINDO

                   Declaratory Judgment of Infringement of the ’220 Patent

        108.   Paragraphs 1-107 are incorporated herein as set forth above.

        109.   These claims arise under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and

2202.

        110.   There is an actual case or controversy such that the Court may entertain Plaintiffs’

request for declaratory relief consistent with Article III of the United States Constitution, and this

actual case or controversy requires a declaration of rights by this Court.

        111.   Aurobindo has made, and will continue to make, substantial preparations in the

United States to manufacture, use, offer to sell, sell, and/or import Aurobindo’s generic bromfenac

ophthalmic solution before the expiration of the ’220 patent, including Aurobindo’s filing of

ANDA No. 212964.

        112.   Upon information and belief, any commercial manufacture, use, offer for sale, sale,

and/or importation of Aurobindo’s generic bromfenac ophthalmic solution will directly infringe,

contributorily infringe, and/or induce infringement of at least one claim of the ’220 patent.

        113.   Plaintiffs are entitled to a declaratory judgment that future commercial




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manufacture, use, offer for sale, sale, and/or importation of Aurobindo’s generic bromfenac

ophthalmic solution will constitute infringement of at least one claim of the ’220 patent.

                             COUNT XV AGAINST AUROBINDO

                       Infringement of the ’277 Patent under § 271(e)(2)

        114.   Paragraphs 1-113 are incorporated herein as set forth above.

        115.   Under 35 U.S.C. § 271(e)(2), Aurobindo has infringed at least one claim of the ’277

patent by submitting, or causing to be submitted, to the FDA ANDA No. 212964 seeking approval

for the commercial marketing of Aurobindo’s generic bromfenac ophthalmic solution before the

expiration of the ’277 patent.

        116.   Upon information and belief, Aurobindo’s generic bromfenac ophthalmic solution

will, if approved and marketed, infringe at least one claim of the ’277 patent.

        117.   Upon information and belief, Aurobindo will, through the manufacture, use,

import, offer for sale, and/or sale of Aurobindo’s generic bromfenac ophthalmic solution, directly

infringe, contributorily infringe, and/or induce infringement of at least one claim of the ’277 patent.

        118.   If Aurobindo’s marketing and sale of its generic bromfenac ophthalmic solution

prior to the expiration of the ’277 patent is not enjoined, Plaintiffs will suffer substantial and

irreparable harm for which there is no adequate remedy at law.

                             COUNT XVI AGAINST AUROBINDO

                   Declaratory Judgment of Infringement of the ’277 Patent

        119.   Paragraphs 1-118 are incorporated herein as set forth above.

        120.   These claims arise under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and

2202.

        121.   There is an actual case or controversy such that the Court may entertain Plaintiffs’




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request for declaratory relief consistent with Article III of the United States Constitution, and this

actual case or controversy requires a declaration of rights by this Court.

       122.    Aurobindo has made, and will continue to make, substantial preparations in the

United States to manufacture, use, offer to sell, sell, and/or import Aurobindo’s generic bromfenac

ophthalmic solution before the expiration of the ’277 patent, including Aurobindo’s filing of

ANDA No. 212964.

       123.    Upon information and belief, any commercial manufacture, use, offer for sale, sale,

and/or importation of Aurobindo’s generic bromfenac ophthalmic solution will directly infringe,

contributorily infringe, and/or induce infringement of at least one claim of the ’277 patent.

       124.    Plaintiffs are entitled to a declaratory judgment that future commercial

manufacture, use, offer for sale, sale, and/or importation of Aurobindo’s generic bromfenac

ophthalmic solution will constitute infringement of at least one claim of the ’277 patent.

                            COUNT XVII AGAINST AUROBINDO

                       Infringement of the ’958 Patent under § 271(e)(2)

      125.     Paragraphs 1-124 are incorporated herein as set forth above.

      126.     Under 35 U.S.C. § 271(e)(2), Aurobindo has infringed at least one claim of the ’958

patent by submitting, or causing to be submitted, to the FDA ANDA No. 212964 seeking approval

for the commercial marketing of Aurobindo’s generic bromfenac ophthalmic solution before the

expiration of the ’958 patent.

      127.     Upon information and belief, Aurobindo’s generic bromfenac ophthalmic solution

will, if approved and marketed, infringe at least one claim of the ’958 patent.

      128.     Upon information and belief, Aurobindo will, through the manufacture, use,

import, offer for sale, and/or sale of Aurobindo’s generic bromfenac ophthalmic solution, directly




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infringe, contributorily infringe, and/or induce infringement of at least one claim of the ’958 patent.

        129.   If Aurobindo’s marketing and sale of its generic bromfenac ophthalmic solution

prior to the expiration of the ’958 patent is not enjoined, Plaintiffs will suffer substantial and

irreparable harm for which there is no adequate remedy at law.

                            COUNT XVIII AGAINST AUROBINDO

                   Declaratory Judgment of Infringement of the ’958 Patent

        130.   Paragraphs 1-129 are incorporated herein as set forth above.

        131.   These claims arise under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and

2202.

        132.   There is an actual case or controversy such that the Court may entertain Plaintiffs’

request for declaratory relief consistent with Article III of the United States Constitution, and this

actual case or controversy requires a declaration of rights by this Court.

        133.   Aurobindo has made, and will continue to make, substantial preparations in the

United States to manufacture, use, offer to sell, sell, and/or import Aurobindo’s generic bromfenac

ophthalmic solution before the expiration of the ’958 patent, including Aurobindo’s filing of

ANDA No. 212964.

        134.   Upon information and belief, any commercial manufacture, use, offer for sale, sale,

and/or importation of Aurobindo’s generic bromfenac ophthalmic solution will directly infringe,

contributorily infringe, and/or induce infringement of at least one claim of the ’958 patent.

        135.   Plaintiffs are entitled to a declaratory judgment that future commercial

manufacture, use, offer for sale, sale, and/or importation of Aurobindo’s generic bromfenac

ophthalmic solution will constitute infringement of at least one claim of the ’958 patent.




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                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that the Court enter judgment in their favor

and against Aurobindo on the patent infringement claims set forth above and respectfully request

that this Court:

       1.      enter judgment that, under 25 U.S.C. § 271(e)(2), Aurobindo has infringed at least

one claim of the ’431 patent by submitting or causing to be submitted ANDA No. 212964 to the

FDA to obtain approval for the commercial manufacture, use, import, offer for sale, and/or sale in

the United States of Aurobindo’s generic bromfenac ophthalmic solution before the expiration of

the ’431 patent;

       2.      enter judgment that, under 25 U.S.C. § 271(e)(2), Aurobindo has infringed at least

one claim of the ’290 patent by submitting or causing to be submitted ANDA No. 212964 to the

FDA to obtain approval for the commercial manufacture, use, import, offer for sale, and/or sale in

the United States of Aurobindo’s generic bromfenac ophthalmic solution before the expiration of

the ’290 patent;

       3.      enter judgment that, under 25 U.S.C. § 271(e)(2), Aurobindo has infringed at least

one claim of the ’131 patent by submitting or causing to be submitted ANDA No. 212964 to the

FDA to obtain approval for the commercial manufacture, use, import, offer for sale, and/or sale in

the United States of Aurobindo’s generic bromfenac ophthalmic solution before the expiration of

the ’131 patent;

       4.      enter judgment that, under 25 U.S.C. § 271(e)(2), Aurobindo has infringed at least

one claim of the ’813 patent by submitting or causing to be submitted ANDA No. 212964 to the

FDA to obtain approval for the commercial manufacture, use, import, offer for sale, and/or sale in

the United States of Aurobindo’s generic bromfenac ophthalmic solution before the expiration of




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the ’813 patent;

       5.      enter judgment that, under 25 U.S.C. § 271(e)(2), Aurobindo has infringed at least

one claim of the ’606 patent by submitting or causing to be submitted ANDA No. 212964 to the

FDA to obtain approval for the commercial manufacture, use, import, offer for sale, and/or sale in

the United States of Aurobindo’s generic bromfenac ophthalmic solution before the expiration of

the ’606 patent;

       6.      enter judgment that, under 25 U.S.C. § 271(e)(2), Aurobindo has infringed at least

one claim of the ’609 patent by submitting or causing to be submitted ANDA No. 212964 to the

FDA to obtain approval for the commercial manufacture, use, import, offer for sale, and/or sale in

the United States of Aurobindo’s generic bromfenac ophthalmic solution before the expiration of

the ’609 patent;

       7.      enter judgment that, under 25 U.S.C. § 271(e)(2), Aurobindo has infringed at least

one claim of the ’220 patent by submitting or causing to be submitted ANDA No. 212964 to the

FDA to obtain approval for the commercial manufacture, use, import, offer for sale, and/or sale in

the United States of Aurobindo’s generic bromfenac ophthalmic solution before the expiration of

the ’220 patent;

       8.      enter judgment that, under 25 U.S.C. § 271(e)(2), Aurobindo has infringed at least

one claim of the ’277 patent by submitting or causing to be submitted ANDA No. 212964 to the

FDA to obtain approval for the commercial manufacture, use, import, offer for sale, and/or sale in

the United States of Aurobindo’s generic bromfenac ophthalmic solution before the expiration of

the ’277 patent;

       9.      enter judgment that, under 25 U.S.C. § 271(e)(2), Aurobindo has infringed at least

one claim of the ’958 patent by submitting or causing to be submitted ANDA No. 212964 to the




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FDA to obtain approval for the commercial manufacture, use, import, offer for sale, and/or sale in

the United States of Aurobindo’s generic bromfenac ophthalmic solution before the expiration of

the ’958 patent;

          10.   order that the effective date of any approval by the FDA of Aurobindo’s generic

bromfenac ophthalmic solution be a date that is not earlier than the expiration of the ’431 patent,

the ’290 patent, the ’131 patent, the ’813 patent, the ’606 patent, the ’609 patent, the ’220 patent,

the ’277 patent, and the ’958 patent, or such later date as the Court may determine;

          11.   enjoin Aurobindo from the commercial manufacture, use, import, offer for sale,

and/or sale of Aurobindo’s generic bromfenac ophthalmic solution until expiration of the ’431

patent, the ’290 patent, the ’131 patent, the ’813 patent, the ’606 patent, the ’609 patent, the ’220

patent, the ’277 patent, and the ’958 patent, or such later date as the Court may determine;

          12.   enjoin Aurobindo and all persons acting in concert with Aurobindo from seeking,

obtaining, or maintaining approval of Aurobindo’s ANDA No. 212964 until expiration of the ’431

patent, the ’290 patent, the ’131 patent, the ’813 patent, the ’606 patent, the ’609 patent, the ’220

patent, the ’277 patent, and the ’958 patent;

          13.   declare this to be an exceptional case under 35 U.S.C. §§ 285 and 271(e)(4) and

award Plaintiffs’ costs, expenses, and disbursements in this action, including reasonable attorney’s

fees;

          14.   award Plaintiffs such further and additional relief as this Court deems just and

proper.




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Dated: June 3, 2019                                s/ William P. Deni, Jr.
       Newark, New Jersey                          William P. Deni, Jr.
                                                   Charles H. Chevalier
                                                   J. Brugh Lower
                                                   GIBBONS P.C.
                                                   One Gateway Center
                                                   Newark, New Jersey 07102
                                                   Tel: (973) 596-4500
                                                   Fax: (973) 596-0545
                                                   wdeni@gibbonslaw.com
                                                   cchevalier@gibbonslaw.com
                                                   jlower@gibbonslaw.com

Of Counsel:
Bryan C. Diner
Justin J. Hasford
Matthew J. Hlinka (pro hac vice to be submitted)
FINNEGAN, HENDERSON,
FARABOW, GARRETT & DUNNER, LLP
901 New York Avenue, NW
Washington, DC 20001-4413
Tel: (202) 408-4000

Jessica M. Lebeis (pro hac vice to be submitted)
FINNEGAN, HENDERSON,
FARABOW, GARRETT & DUNNER, LLP
Two Seaport Lane
Boston, MA 02210-2001
Tel: (617) 646-1600

Chiaki Fujiwara Kobayashi (pro hac vice to be submitted)
FINNEGAN, HENDERSON,
FARABOW, GARRETT & DUNNER, LLP
33rd Floor, Shiroyama Trust Tower
3-1, Toranomon 4-chrome, Minato-ku
Tokyo, 105-6033 Japan
Tel: +81-3-3431-6943

Attorneys for Plaintiffs
Senju Pharmaceutical Co., Ltd.,
Bausch & Lomb Incorporated, and
Bausch & Lomb Pharma Holdings Corp.




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                       CERTIFICATION OF NON-ARBITRABILITY
                       PURSUANT TO LOCAL CIVIL RULE 201.1(d)

       Pursuant to Local Civil Rule 201.1(d), the undersigned counsel hereby certifies that this

action seeks declaratory and injunctive relief and, therefore, is not subject to mandatory arbitration.

       I certify under penalty of perjury that the foregoing is true and correct.



Dated: June 3, 2019                                s/ William P. Deni, Jr.
       Newark, New Jersey                          William P. Deni, Jr.
                                                   GIBBONS P.C.
                                                   One Gateway Center
                                                   Newark, New Jersey 07102
                                                   Tel: (973) 596-4500
                                                   Fax: (973) 596-0545
                                                   wdeni@gibbonslaw.com

                                                   Attorneys for Plaintiffs
                                                   Senju Pharmaceutical Co., Ltd.,
                                                   Bausch & Lomb Incorporated, and
                                                   Bausch & Lomb Pharma Holdings Corp.




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